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         10                            UNITED STATES DISTRICT COURT
         11                          CENTRAL DISTRICT OF CALIFORNIA
         12                                     WESTERN DIVISION
         13
                     VAPORSTREAM, INC.,                    Case No. 2:17-CV-220-BRO-KS
         14
                                   Plaintiff,             SNAP INC.’S NOTICE OF MOTION,
         15                                               MOTION, AND MEMORANDUM
                          v.                              OF POINTS AND AUTHORITIES IN
         16                                               SUPPORT OF ITS MOTION FOR
                     SNAP INC. d/b/a SNAPCHAT,            SUMMARY JUDGMENT OF
         17          INC.,                                INVALIDITY UNDER 35 U.S.C. §
                                                          101
         18                        Defendant.
                                                          DATE:      October 23, 2017
         19                                               TIME:      1:30 PM
                                                          CTRM:      7C
         20                                               JUDGE:     Hon. Beverly R. O’Connell
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  COOLEY LLP                                                   SNAP’S NOT. OF MTN., MTN., AND MEMORANDUM
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                                                                ISO SNAP’S MOTION FOR SUMMARY JUDGMENT
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            1      TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF
            2      RECORDS:
            3            PLEASE TAKE NOTICE that on October 23, 2017 at 1:30 p.m., or as soon
            4      thereafter as the matter may be heard, in this Court, located at First Street Courthouse,
            5      350 W. First Street, Courtroom 7C, Los Angeles, CA 90012, Defendant Snap Inc. will
            6      and hereby does move, pursuant to Federal Rule of Civil Procedure 56, for summary
            7      judgment that the asserted claims of U.S. Patent Nos. 8,886,739; 8,935,351; 9,306,885;
            8      9,306,886; 9,313,155; 9,313,156; 9,313,157; 9,338,111; and 9,413,711 are invalid for
            9      failure to claim patentable subject matter under 35 U.S.C. § 101 and the applicable case
         10        law. This motion is based upon this notice of motion and motion, the attached
         11        memorandum, the Statement of Uncontroverted Facts and Conclusions of Law filed
         12        concurrently herewith, the expert declaration of Dr. Saul Greenberg, Ph.D. filed
         13        concurrently herewith, the declaration of Reuben Chen filed concurrently herewith, and
         14        upon such other and further matters, papers, and arguments as may be submitted to the
         15        Court at or before the hearing on this motion.
         16              This motion is made following the conference of counsel pursuant to Local Rule
         17        7-3 that took place on June 16, 2017. Snap’s motion complies with this Court’s standing
         18        orders because at the July 10, 2017 Scheduling Conference, the Court permitted Snap
         19        to file an early motion for summary judgment on § 101. (Transcript, Scheduling
         20        Conference at 8:7-11 (July 10, 2017).)
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                                     CENTRAL DISTRICT OF CALIFORNIA
         11                                WESTERN DIVISION
         12
                     VAPORSTREAM, INC.,                    Case No. 2:17-CV-220-BRO-KS
         13
                                   Plaintiff,             SNAP INC.’S MEMORANDUM IN
         14                                               SUPPORT OF ITS MOTION FOR
                          v.                              SUMMARY JUDGMENT OF
         15                                               INVALIDITY UNDER 35 U.S.C. § 101
                     SNAP INC. d/b/a SNAPCHAT,
         16          INC.,
         17                        Defendant.
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            1      I.    INTRODUCTION
            2            The patents asserted by Vaporstream, Inc. are directed to an abstract idea:
            3      preventing third parties from tracing a message’s content to the sender or recipient. And
            4      they carry out that abstract idea through timeworn practices: (1) separating a message’s
            5      content from the identity of its sender or recipient, and (2) automatically destroying the
            6      message after sending or receiving. Indeed, this Court recognized as much in its June
            7      12 order. It wrote that the real-world analogies Snap Inc. offered “capture the concept
            8      of separating the sender/recipient information from the content itself” and of “reducing
            9      traceability by destroying the message after receipt.” (June 12, 2017 Order, ECF No.
         10        59 (“Order”), at 9.) And it found that the asserted claims “do not readily lend
         11        themselves to a step-one finding that they are directed to a nonabstract idea.” (Id. at 11
         12        (citation and quotation marks removed).)
         13              That was exactly right. And under the Supreme Court’s decision in Alice Corp.
         14        Pty. Ltd. v. CLS Bank International, 134 S. Ct. 2347 (2014), that means the claims are
         15        invalid as a matter of law—unless they offer some “inventive concept” that
         16        “transform[s] the abstract idea into a patent-eligible subject matter.” (Order at 11.) At
         17        the motion-to-dismiss stage, this Court stated that it lacked sufficient information to
         18        make that Alice step two determination. Specifically, it needed more facts to determine
         19        whether “the generic components” recited by Vaporstream “operate in an
         20        unconventional manner to achieve an improvement in computer functionality.” (Id. at
         21        12.) The open question, in short, was “whether the various claimed limitations are
         22        conventional protocols or technological improvements.” (See id.) If they are the
         23        former, then they flunk the Alice test and Vaporstream’s case fails.
         24              The Court now has before it an expanded summary judgment record. And on
         25        that expanded record, the answer is plain: The claimed limitations are mere
         26        conventional protocols. As set forth below, none of the limitations in the asserted
         27        claims provide any technological improvement or solve any technological problem.
         28        The evidence submitted with this motion establishes that the supposed technological
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            1      features in the claims—such as separate displays, separate transmission of
            2      sender/recipient information and message content, and restricting access to sent or
            3      received messages—were pervasive and generic technologies by the mid-1990s or
            4      earlier. And nothing about how these conventional technologies are combined in the
            5      asserted claims is novel. On the contrary, each is used in a standard way, and the steps
            6      are combined in an obvious order—the order required to communicate message content.
            7      The claimed techniques, in other words, represent “‘well-understood, routine,
            8      conventional activit[ies]’ previously known to the industry.” Alice, 134 S. Ct. at 2359
            9      (quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294
         10        (2012)). Therefore, whether considered alone or as an ordered combination, none of
         11        the claimed limitations supplies an “inventive concept” sufficient to save the claims
         12        from invalidity under § 101. The Court should so hold, and should enter judgment for
         13        Snap.
         14        II.     BACKGROUND
         15                A.    The Asserted Patents
         16                Vaporstream asserts that Snap infringes nine patents,1 all of which are closely
         17        related and share a substantially identical specification.2 Vaporstream has asserted a
         18        priority date of April 21, 2005. (Declaration of Reuben Chen (“Chen Decl.”), Ex. 1,
         19        Vaporstream’s Responses to Snap’s First Set of Interrogatories at 3 (July 10, 2017).)
         20        The Asserted Patents relate generally to systems and methods for “reducing
         21
         22        1
                     These nine patents are U.S. Patent Nos. 8,886,739 (“the ’739 Patent”); 8,935,351 (“the
                   ’351 Patent”); 9,306,885 (“the ’885 Patent”); 9,306,886 (“the ’886 Patent”); 9,313,155
         23
                   (“the ’155 Patent”); 9,313,156 (“the ’156 Patent”); 9,313,157 (“the ’157 Patent”);
         24        9,338,111 (“the ’111 Patent”); and 9,413,711 (“the ’711 Patent”) (collectively, “the
                   Asserted Patents”). The ’711 Patent is a continuation of continuation-in-part App. No.
         25
                   13/447,932, which issued as U.S. Patent 9,282,081 and is not asserted in this litigation.
         26        2
                     The ’739, ’885, ’155, and ’156 patent specifications relate to the “sending user device,”
         27        and are nearly identical. The ’351, ’886, ’157, and ’111 patent specifications relate to
                   the “receiving user device,” and are similarly nearly identical. The ’711 patent
         28        combines features of both groups.
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                                                              2.          ISO SNAP’S MOTION FOR SUMMARY JUDGMENT
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            1      traceability” of message content by protecting the identity of the recipient or sender of
            2      the message. The specification explains that in typical messaging systems, message
            3      content is “coupled to identifying information regarding the sender, the recipient, the
            4      location of the message, times and dates associated with the message, etc.” (See ’739
            5      Patent, 1:64-67.) It further explains that coupling the identifying information with the
            6      message content itself creates various problems:
            7                   This allows a third party that is logging messages, intercepting
            8                   messages, or simply gaining access to the messaging system’s
                                logs or inbox archives to associate the potentially important
            9                   identifying information (typically referred to as header
                                information) with the message content.
         10
         11        (See id., 1:67-2:5.)
         12              The purported problem identified by the Asserted Patents would be familiar to
         13        any security-conscious person who has ever tried to send a message—whether
         14        electronically or via mail. When someone sends an email message, the content (the
         15        “body” of the message) is accompanied by the “To:” and “From:” information (the
         16        “header” of the message) identifying the recipient and sender. Accordingly, if someone
         17        were to intercept such a message, the interceptor could determine both the content of
         18        the message and the identities of the sender and intended recipient.
         19              But this problem is not unique to computer-based messaging. For example,
         20        letters carried by the Postal Service typically
         21        show, on the envelope, the name and address of
         22        the recipient and a return address corresponding
         23        to the sender (at right). Accordingly, just like
         24        the electronic messages described in the
         25        Asserted Patents, were someone to intercept a postal letter, the interceptor could
         26        determine the letter’s content and, by reading the address information on the envelope
         27        (or the salutation and signature inside), identify the sender and recipient of the letter.
         28              The Asserted Patents purport to solve the problem of “traceable” electronic
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            1      messages in the most simplistic, rudimentary way—by “separating” the identification
            2      information from the message content. (See, e.g., ’739 Patent, 2:14-27; see also ’351
            3      Patent, 2:14-27.) By keeping the content and addressing information separate, the
            4      patents assert, the two cannot be correlated if intercepted. This solution is not just
            5      rudimentary but long-established. The basic technique was well-known, for example,
            6      through the common grade-school practice of passing a note without any identifying
            7      information (in case it is intercepted by a teacher), or the centuries-old tradition of using
            8      diplomatic couriers to deliver unmarked pouches containing sensitive information.
            9            B.     The Patents’ Similarity
         10              The Federal Circuit has held that it is enough to analyze a “representative claim”
         11        under § 101 when, as here, the claims are substantially similar and linked to the same
         12        abstract idea. See, e.g., Content Extraction & Transmission LLC v. Wells Fargo Bank,
         13        Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014). That is the case here. Vaporstream
         14        alleges infringement of 89 claims across the Asserted Patents (“the Asserted Claims”),
         15        but the Asserted Claims have a high degree of overlap and similarity. (See Chen Decl.,
         16        Ex. 2, Plaintiff’s Disclosure of Asserted Claims and Infringement Contentions Pursuant
         17        to S.P.R. 2-1 at 2 (Mar. 23, 2017). Indeed, claim language is systematically broken up
         18        and repackaged into new claims across all nine Asserted Patents. (See Declaration of
         19        Dr. Saul Greenberg, Ph.D. (“Greenberg Decl.”), Exs. X-Z.) For example, the following
         20        limitation is recited in a mixture of dependent and independent claims across the
         21        Asserted Patents: “deleting the [ ] message content including the media component at a
         22        predetermined amount of time after being displayed such that after the second display
         23        is terminated from view, the [ ] message content including the media component is no
         24        longer available to the recipient user.” (’351 Patent, claim 1; ’886 Patent, claim 13;
         25        ’157 Patent, claim 10.)
         26              The full extent of overlap among the Asserted Claims is set forth in the attached
         27
         28
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            1      Exs. X-Z of Dr. Greenberg’s Declaration.3 As those exhibits demonstrate, all of the
            2      Asserted Claims generally fall into two categories: (1) claims reciting methods
            3      implemented on sending user devices (“send side” claims),4 and (2) claims reciting
            4      methods implemented on receiving user devices (“receive side” claims).5
            5            Independent claim 1 of the ’739 Patent (“the ’739 Claim 1”) is representative of
            6      the “send side” Asserted Claims. The ’739 Claim 1 reads:
            7           1[p] A computer-implemented method of handling an electronic message,
                             the method comprising:
            8
                             [a] providing a first display and a second display at a sending user
            9                device, the first display configured to allow a sending user to associate
                             a first message content including a media component with the
         10                  electronic message, the second display configured to allow the sending
                             user to input a first recipient address corresponding to the first message
         11                  content, the first and second displays not being displayed at the same
         12                  time;
                             [b] displaying via the first display a first message content including a
         13                  media component;
         14                  [c] receiving via the second display a first recipient address, wherein
                             the first message content including a media component and the first
         15                  recipient address are not displayed to the sending user at the same time;
         16
                             [d] associating a message ID with the first message content including
         17                  a media component, the message ID correlating the first recipient
                             address and the first message content including a media component;
         18                  and
                             [e] transmitting the recipient address and the first message content
         19                  including a media component from the sending user device to a server
         20                  computer, the first message content including a media component
                             being transmitted to the server computer separately from the recipient
         21
         22        3
                     Unless otherwise noted, Ex. Z of Dr. Greenberg’s Declaration shows dependent
                   limitations that share identical or nearly identical claim language.
         23        4
                     The “send side” Asserted Claims are claims 1, 4-8, and 10 of the ’739 patent; claims
         24        1 and 5-10 of the ’885 patent; claims 1-6 and 9-13 of the ’155 patent; and claims 1-3
                   and 6-11 of the ’156 patent.
         25        5
                     The “receive side” Asserted Claims are claims 1, 3-7, 9, 11, and 12 of the ’351 patent;
         26        claims 1-6 and 8-13 of the ’886 patent; claims 1-7 and 10 of the ’157 patent; and claims
         27        1, 2, 4-6, and 8-12 of the ’111 patent. The Asserted Claims of the ’711 Patent are claims
                   1-17, which recite aspects of both the “send side” and “receive side” Asserted Claims,
         28        without adding anything more.
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            1                  address, the first message content including a media component not
                               being accessible by the sending user for display via the sending user
            2                  device after said transmitting the media component to the server
            3                  computer.

            4      (’739 Patent, 18:50-19:11 (claim 1).)
            5             The ’739 Claim 1 can be boiled down to a technique for letting a sender transmit
            6      a message to a recipient by: (i) letting the sender separately specify the message
            7      recipient and message content (and not displaying both at the same time) (claims 1[a],
            8      1[b], [c]); (ii) associating a message ID that correlates the message content with the
            9      recipient (claim 1[d]); (iii) transmitting the content separately from the recipient
         10        identification (claim 1[e]); and (iv) preventing the sender from accessing the content
         11        after it is sent (claim 1[e]). Those steps represent the abstract ideas of (1) protecting the
         12        identity of a message recipient, and (2) preventing the sender from accessing the content
         13        after it is sent.
         14               Independent claim 1 of the ’351 Patent (“the ’351 Claim 1”), reproduced below,
         15        is representative of the “receive side” Asserted Claims. It recites a similar technique as
         16        ’739 Claim 1, but from the vantage point of the receiving device.
         17              1[p] A computer-implemented method of handling an electronic message,
                              the method comprising:
         18                   [a] receiving at a recipient user device a first header information
         19                   corresponding to a first message content that includes a media
                              component;
         20                   [b] providing a first display via the recipient user device, the first
         21                   display including the first header information in a message list, the first
                              display not displaying the media component;
         22                   [c] receiving at the recipient user device the first message content
         23                   including the media component, wherein the first message content
                              including the media component is associated with a unique message
         24                   ID that correlates the first message content including the media
                              component with the first header information;
         25
                              [d] receiving a selection by the recipient user via the first display, the
         26                   selection directed to a portion of the message list corresponding to the
                              first header information;
         27
                              [e] in response to the selection, providing a second display via the
         28                   recipient user device, the second display displaying the first message
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            1                    content including the media component without displaying a username
                                 associated with the first header information; and
            2
                                 [f] automatically deleting the first message content including the media
            3                    component at a predetermined amount of time after being displayed
                                 such that after the second display is terminated from view, the first
            4                    message content including the media component is no longer available
            5                    to the recipient user.

            6      (’351 Patent, 18:50-19:11 (claim 1).)
            7            The ’351 Claim 1 describes a technique for delivering and displaying a message
            8      to its recipient involving: (i) displaying the sender identity to the recipient (claims 1[a],
            9      1[b], and 1[d]); (ii) separately displaying message content to the recipient (claims 1[a],
         10        1[e]); (iii) maintaining an association between the content and the sender (claim 1[c]);
         11        and (iv) automatically destroying the content after receipt and display (claim 1[f]).
         12        These steps cover the abstract ideas of (1) protecting the identity of a message sender,
         13        and (2) automatically destroying message content after it has been displayed to the
         14        recipient.6
         15              The remaining Asserted Claims provide additional details, but do not change the
         16        basic concept to which the claims are directed. Rather, these other claims simply
         17        attempt to cover superficial refinements to the abstract idea of preventing third parties
         18        from “tracing” a message’s content to the sender or recipient. (Greenberg Decl. ¶¶9,
         19        65-68.) See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714 (Fed. Cir. 2014)
         20        (finding that claims adding particularity do not alter the “heart” of the claims).
         21              C.        The Patents’ Asserted Technologies
         22              The claims offer a handful of technical-sounding terms, such as “display,”
         23        “media component,” “message ID,” and “header information.”                        However, the
         24        specification confirms that these terms merely refer to well-known and generic
         25        computer technologies. For example, the “display” is defined as including, but not
         26        limited to, “a cathode-ray tube (CRT) monitor, a plasma display, an LCD display, and
         27        6
                    This Court previously analyzed the Asserted Patents by relying upon the ’739 Patent
         28        Claim 1 and the ’351 Patent Claim 1 as representative claims. (Order at 5-8.)
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            1      any combination thereof.” (’739 Patent, 5:50-52.) The “media component” may be an
            2      image, video, or audio. (’739 Patent, 7:42-49.) The “message ID” may include “a
            3      sequence number and a unique user identifier (e.g., a user ID, a login ID, etc.).” (’739
            4      Patent, 8:20-22.) Finally, “header information” is simply any “identifying information
            5      regarding the message (e.g., identification of sender, recipient, date/time of message,
            6      location of message).” (’739 Patent, 6:46-54.) The inventors do not claim to have
            7      invented or improved upon any of these well-known technologies. (See, e.g., Greenberg
            8      Decl. ¶¶11, 16.) And nowhere do the patents disclose anything other than generic, off-
            9      the-shelf technologies for carrying out the Asserted Claims. (Id. ¶¶17-64.)
         10        III.   LEGAL STANDARD
         11               Patent eligibility under 35 U.S.C. § 101 is a threshold issue of law. Bilski v.
         12        Kappos, 561 U.S. 593, 602 (2010). The Supreme Court in Alice set forth the now-
         13        familiar two-step test “for distinguishing patents that claim laws of nature, natural
         14        phenomena, and abstract ideas from those that claim patent-eligible applications of
         15        those concepts.” Alice, 134 S. Ct. at 2355. First, the Court must determine if the claims
         16        at issue are directed to a patent-ineligible concept, such as an abstract idea. Id. If the
         17        Court determines that the claims are directed to an abstract idea, it must then “determine
         18        whether the additional elements transform the nature of the claim into a patent-eligible
         19        application.” Id. (internal quotations and citation removed). This second step is “a
         20        search for an inventive concept—i.e., an element or combination of elements that is
         21        sufficient to ensure that the patent in practice amounts to significantly more than a
         22        patent upon the ineligible concept itself.” Id. (internal markings and citation removed).
         23        The Asserted Claims fail both steps.
         24        IV.    ARGUMENT
         25               A.    Alice Step 1 – The Asserted Claims Are Drawn To An Abstract Idea
         26               Vaporstream asserts various claims, but all of them—without exception—are
         27        directed to the abstract idea of preventing third parties from tracing a message’s content
         28        to the sender or recipient. (See, e.g., ’739 Patent, claim 1[a] (“reduced traceability
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            1      displays”); ’711 Patent, claim 1[a], 1[c], 1[d] (same); ’886 Patent, claim 1[a] (same);
            2      ’157 Patent, claim 1[a] (same); ’111 Patent, claim 1[a] (same); ’711 Patent, claim 1[b],
            3      1[d] (“reduced traceability electronic messaging application”); ’739 Patent, Abstract
            4      (“An electronic messaging system and method with reduced traceability”)). Indeed, the
            5      first application to which Vaporstream claims priority for the Asserted Patents, U.S.
            6      Provisional Patent Application Ser. No. 60/703,367, filed July 28, 2005, is titled
            7      “Method and System for Reducing Traceability of Electronic Messages.” (Chen Decl.,
            8      Ex. 3.) The Asserted Claims carry out this abstract idea by (1) separating a message’s
            9      content from the identity of its sender and/or recipient, and (2) automatically destroying
         10        the message after sending and/or receiving.
         11              But reducing traceability is an age-old problem in human communication. From
         12        notes passed by schoolchildren, to the use of courier services to deliver unmarked
         13        packages, to Mission: Impossible’s use of self-destructing messages, the claims address
         14        ancient problems in generic ways. This Court has recognized that “the classroom note
         15        pass and the briefcase courier analogies capture the concept of separating the
         16        sender/recipient information from the content itself,” and “the self-destructing message
         17        in Mission: Impossible further illustrates the idea of reducing traceability by destroying
         18        the message after receipt.” (Order at 9.) Quite so. And it is because these examples are
         19        age-old and familiar that they plainly reflect abstract ideas that are part of the “building
         20        blocks of human ingenuity” (Alice, 134 S. Ct. at 2359) and “should be free to all men and
         21        reserved exclusively to none.” Mayo, 132 S. Ct. at 1293; (see also Order at 10). Under
         22        Alice and its progeny, the Asserted Claims are directed to abstract ideas that cannot be
         23        patented.
         24                     1.     The overall focus of the claims is directed at an abstract idea
         25              The analogies mentioned above aptly capture the nature of the “send side” and
         26        “receive side” claims of the Asserted Patents. In the courier analogy, the sender hands
         27        the courier an unmarked package with no visible indication of the sender or intended
         28        recipient. The sender then separately provides the intended recipient’s identity to the
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            1      courier. The courier is not informed of the contents of the package. The package
            2      contents are therefore physically and logically separate from the recipient and sender
            3      information, and the two are never displayed at the same time. (See, e.g., ’739 Claim
            4      1[a] and 1[c]; see also ’351 Claim 1[b] and 1[e].) The multiple displays claimed in the
            5      Asserted Patents are nothing more than the electronic analogs of this real-world
            6      separation.
            7            In the courier scenario, should the package get lost or intercepted, the finder does
            8      not know the identities of the sender or recipient. That is, the ability to correlate sender
            9      and/or recipient information (or trace it back) is separated from the content itself, just
         10        as in the Asserted Claims. (See, e.g., ’739 Claim 1[e]). The correlation remains in the
         11        courier’s mind. The Federal Circuit has made clear that such activity, which “can be
         12        performed by the human mind, or by a human using a pen and paper,” is an abstract
         13        idea. CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366 (Fed. Cir. 2011).
         14        Another pervasive example of this correlation step is human blood testing, such as for
         15        HIV testing. Because of the need for privacy, the subject’s name and identifying
         16        information never accompanies his biological sample or the test results. The subject is
         17        instead furnished a random number associated with the sample that he can use to later
         18        access and obtain the test results anonymously. (Chen Decl., Ex. 4, Maxwell J.
         19        Mehlman et al., “The Need for Anonymous Genetic Counseling and Testing,” THE
         20        AMERICAN SOCIETY         OF    HUMAN GENETICS          at   398     (1996),      available         at
         21        https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1914541/pdf/ajhg00015-0143.pdf.)
         22              The “automatic deletion” step in certain Asserted Claims is also an abstract idea.
         23        Self-destructing messages are practically a cliché in spy films and television. For
         24        example, the 1960s Mission: Impossible series portrayed the hero receiving an official
         25        message outlining his mission that ended with the ominous admonition that the message
         26        “will self-destruct in five seconds,” followed by its smoky destruction. The purpose of
         27        this feature, of course, was to reduce the risk that the message would be intercepted
         28        after it had been viewed. Similarly, even in the courier or note-passing analogies, the
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            1      package or note recipient could easily rip up or otherwise destroy the message after
            2      reading it to prevent third parties from tracing the message back to the communicating
            3      parties. The ’351 Claim 1 simply perpetuates the cliché; it recites that the message is
            4      automatically deleted after a “predetermined amount of time”—for example, the “five
            5      seconds” in Mission: Impossible. Further, the Asserted Patents themselves refer to a
            6      real-life example of the abstract idea of automatic deletion—a long-standing U.S.
            7      Department of Defense “clearing and sanitizing standard” that specifies that classified
            8      information must be destroyed when no longer needed.7 (See ’739 Patent, 16:19-22.)
            9      The claimed abstract idea thus has long been carried out in a real-world environment.
         10              In short, Vaporstream’s Asserted Claims are directed at an abstract idea. Indeed,
         11        the very abstract ideas Vaporstream claims already have been rejected as patent-
         12        ineligible under the Alice test. For example, “[a]llowing for secure and private access
         13        to data has also been found to be an abstract concept,” Pres. Wellness Techs. LLC v.
         14        Allscripts Healthcare Solutions, No. 2015-1559, 2016 U.S. LEXIS 61841, at *21 (E.D.
         15        Tex. May 9, 2016)), aff’d 2017 U.S. App. LEXIS 6247 (Fed. Cir. Apr. 12, 2017), and
         16        the Federal Circuit has confirmed that separating information into its constituent parts
         17        is an abstract idea. TLI Communs. LLC v. AV Auto., LLC, 823 F.3d 607 (Fed. Cir. 2016)
         18        (extracting classification information from digital image content is an abstract idea);
         19        Chen Decl., Ex. 6, Cyberfone Systems, LLC v. CNN Interactive Group, Inc., 558 Fed.
         20        Appx. 988, 990 (Fed. Cir. 2014) (unpublished) (steps requiring “separating [data] into
         21        component parts” were “nothing more than a disembodied concept of data sorting and
         22        storage.”). And it is well-established that access restrictions such as automatic deletion
         23        are patent-ineligible abstract ideas. Adrea LLC v. Barnes & Noble, Inc., No. 13-CV-
         24        4137 JSR, 2015 WL 4610465, at *6 (S.D.N.Y. July 24, 2015) (finding a method for
         25
         26        7
                    This standard was established at least as early as January 1995. Chen Decl., Ex. 5,
         27        National Industrial Security Program: Operating Manual, Department of Defense
                   (DoD) 5220.22-M at Foreword (Feb. 28, 2006), full version available at
         28        http://www.dss.mil/documents/ odaa/nispom2006-5220.pdf.
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            1      lending electronic books invalid and explaining “[n]or does the addition of . . .
            2      ‘automatically erasing’ [those books] . . . represent an inventive concept”); see also
            3      Ultramercial, 772 F.3d at 716 (“[a]dding routine additional steps such as . . . restrictions
            4      on public access . . . does not transform an otherwise abstract idea”); Smartflash LLC
            5      v. Apple Inc., 680 Fed. Appx. 977, 982 (Fed. Cir. 2017) (finding that “access/use
            6      rules” do not improve computer functionality); Prism Technologies LLC v. T-Mobile
            7      USA, Inc., --- Fed. Appx. ----, 2017 WL 2705338, at *2 (Fed. Cir. June 23, 2017)
            8      (finding that “providing restricted access to resources” is an abstract idea). These
            9      holdings further underscore that the Asserted Claims fail the Alice test.
         10              The same conclusion is apparent when the case is analyzed through a related
         11        strain of post-Alice law. The Federal Circuit has made clear that claims fail Alice when
         12        they merely “recite the performance of some business practice known from the pre-
         13        Internet world along with the requirement to perform it on the Internet.” DDR
         14        Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014) (emphasis
         15        added). That is precisely what the Asserted Claims do. As the analogies above reveal,
         16        businesses, governments, and others have long embraced the practices of separating
         17        message content from sender and recipient information, and destroying messages, to
         18        reduce traceability. As this Court recognized, “[i]f the problem Vaporstream purports
         19        to solve does not specifically arise in any technological field, and the ‘human problem’
         20        already has a ‘human solution,’ then the claimed invention – e.g., separation of message
         21        information and automatic message deletion – may be better characterized as using
         22        generic computing concepts to carry out in the electronic realm abstract ideas from the
         23        real world, rather than an improvement in computer functionality.” (Order at 10).8
         24
                   8
                     The Examiner’s apparent determination that the claims of the ’886 Patent were
         25
                   allowable over § 101 is not binding on this Court. See, e.g., Purdue Pharma L.P. v.
         26        Faulding Inc., 230 F.3d 1320, 1329 (Fed. Cir. 2000) (holding that finding by examiner
         27        was not binding on district court and entitled to no deference where district court heard
                   more extensive evidence and arguments on the issue). Further, the Examiner’s
         28
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            1             The Asserted Claims recite a number of additional limitations that may add
            2      particularity, but do not change the nature of the abstract idea itself. See Ultramercial,
            3      Inc., 772 F.3d at 715 (“Although certain additional limitations . . . add a degree of
            4      particularity, the concept embodied by the majority of the limitations describes only the
            5      abstract idea . . .”). The Asserted Patents are therefore directed to an abstract idea under
            6      the first step of Alice.
            7                    2.     The claims are not directed at a specific improvement to
                                        computer technology
            8
            9             Vaporstream has argued that the Asserted Claims are not abstract because they
         10        “are directed to a specific improvement to electronic messaging systems” in the form
         11        of “a particular way of sending and receiving electronic messages such that privacy is
         12        ensured, sender/recipient identity is unascertainable, and the message content cannot be
         13        stored, manipulated, or disseminated.” (Order at 8 (citing Dkt. 51 at 6) (emphasis added
         14        and quotation marks omitted).) This argument lacks merit for several reasons.
         15               First, the Asserted Claims themselves say nothing about ensuring privacy,
         16        making sender/recipient identity unascertainable, or preventing message content from
         17        being stored, manipulated, or disseminated. The Federal Circuit has repeatedly rejected
         18        arguments that attempt to avoid invalidity under § 101 by relying on features and
         19        limitations not recited in the claims. See, e.g., Intellectual Ventures I LLC v. Symantec
         20        Corp., 838 F.3d 1307, 1322 (Fed. Cir. 2016) (“Symantec”) (“The district court erred in
         21        relying on technological details set forth in the patent’s specification and not set forth
         22        in the claims to find an inventive concept.”); accord Versata Dev. Grp., Inc. v. SAP
         23        Am., Inc., 793 F.3d 1306, 1335 (Fed. Cir. 2015); Planet Bingo, LLC v. VKGS LLC, 576
         24        Fed. Appx. 1005, 2014 WL 4195188, *3 (Fed. Cir. Aug. 26, 2014).
         25
         26        determination lacks any persuasive value because he framed the abstract idea in a
         27        fundamentally different (and incorrect) way: of “receiving an email (in general) and
                   receiving an email header and content separately (in particular).” (Chen Decl., Ex. 7,
         28        12/03/2015 Office Action at 8, ¶ 17.)
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            1            Second, and likewise fatal to its argument, Vaporstream’s reformulation
            2      affirmatively demonstrates that the Asserted Claims are directed to an abstract idea.
            3      Vaporstream points only to three generic technologies that purportedly carry out its
            4      “specific improvement”: (1) structured graphical user interfaces that display
            5      sender/recipient identifying information separately from the message content; (2)
            6      protocols that transmit sender/recipient identifying information separately from the
            7      message content; and (3) restrictions on accessing the message content upon
            8      transmission and display. (Order at 8.) But these limitations do not solve any problem
            9      unique to computers. Cf. DDR Holdings, 773 F.3d at 1245, 1257. They instead attempt
         10        to address a human problem of protecting privacy of messaging by preventing a human
         11        being from being able to trace a message’s content to its sender or recipient. See
         12        Intellectual Ventures I v. Capital One Bank, 792 F.3d 1363, 1371 (Fed. Cir. 2015)
         13        (“Capital One”) (affirming invalidity because “[t]he patent claims here do not address
         14        problems unique to the Internet, so DDR has no applicability”); IPLearn-Focus, LLC v.
         15        Microsoft Corp., No. 14-0151, 2015 WL 4192092, at *6 (N.D. Cal. July 10, 2015)
         16        (finding invalidity where the “core issue” addressed by the patents “does not exist
         17        exclusively or even predominantly in the computer realm,” but instead “is a problem
         18        that arises every day in every teaching situation in the world”).
         19              Moreover—and we discuss further below, in the context of Alice step two—these
         20        features have nothing to do with improving the functioning of the computer itself. See
         21        Affinity Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253, 1262 (Fed. Cir. 2016)
         22        (“The patent in this case is not directed to the solution of a ‘technological problem,’ nor
         23        is it directed to an improvement in computer or network functionality.”) (internal
         24        citation omitted).) For example, there is no suggestion in the Vaporstream patents that
         25        separating sender/recipient information from message content, and restricting access to
         26        a message, does anything to make the computer run any faster, more efficiently, or more
         27        reliably. The purported technological features are nothing more than routine and
         28        conventional computer components. (See Greenberg Decl. ¶¶16-59); see also Alice,
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            1      134 S. Ct. at 2359. And their use flows naturally from the implementation of the
            2      abstract idea in the computer and networking environment. Like in past cases where
            3      patents have failed Alice, the claims here are “not directed to an improvement in
            4      computer functionality, but . . . to ‘the use of conventional or generic technology in a .
            5      . . well-known environment.’” See Affinity Labs, 838 F.3d at 1260-61.
            6            There is nothing innovative about providing content on two displays—this has
            7      been practiced since the dawn of computers. See, e.g., Apple, Inc. v. Ameranth, Inc.,
            8      842 F.3d 1229, 1234, 1241 (Fed. Cir. 2016) (finding claims reciting a “first menu” and
            9      a “second menu” to be directed to an abstract idea because “[t]hey do not claim a
         10        particular way of programming or designing the software to create menus . . . ., but
         11        instead merely claim the resulting systems”); Va. Innovation Scis., Inc. v. Amazon.com,
         12        Inc., Civ. No. 16-00861, 2017 WL 64147, *9 (E.D. Va. Jan. 5, 2017), appeal docketed,
         13        No. 17-1646 (Fed. Cir. Feb. 17, 2017) (alleged improvement of reproducing a video on
         14        a “separate display” device is “not computer-specific”); (Greenberg Decl. ¶¶41-55.)
         15        Vaporstream does not claim to have invented a new “graphical user interface”—i.e.,
         16        display—but instead relies on well-known preexisting displays. Greenberg Decl. ¶55;
         17        see ’739 Patent, 5:50-52 (disclosing only generic displays such as “a cathode-ray tube
         18        (CRT) monitor, a plasma display, [and/or] an LCD display”).
         19              Protocols for separate transmission were likewise pervasive at the time of
         20        invention. Symantec, 838 F.3d at 1318 (finding that use of “conventional e-mail
         21        protocols . . . does not ‘improve the functioning of the computer itself’”); see also
         22        Greenberg Decl. ¶¶17-40. Vaporstream does not disclose, much less claim, any
         23        enhanced transmission protocols. (Greenberg Decl. ¶¶17-40.)
         24              And it is well-established that access restrictions such as automatic deletion are
         25        patent-ineligible abstract ideas. See supra at Section IV.A.1. (citing cases). Indeed,
         26        automatic deletion is the most rudimentary form of access restriction imaginable. Thus
         27        Vaporstream’s own characterization makes clear that the Asserted Claims focus on a
         28        “result or effect that itself is the abstract idea [reducing traceability] and merely invoke
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            1      generic processes and machinery.” See Apple, 842 F.3d at 1241 (internal quotation
            2      marks and citation removed).
            3            As the Federal Circuit has noted, the inquiry into whether a claim is directed to a
            4      “computer-functionality improvement[]” under Alice step one “involve[s] overlapping
            5      scrutiny” with the search for an inventive concept under step two. Elec. Power Group,
            6      LLC v. Alstom S.A., 830 F.3d 1350, 1353, 1354 (Fed. Cir. 2016). Accordingly, the
            7      following analysis on Alice step two—provided with an expanded summary judgment
            8      record that was missing at the pleading stage—confirms, beyond a doubt, that the claims
            9      in this case recite no technological improvement.
         10              B.     Alice Step 2 – The Asserted Claims Recite No Inventive Concept
         11              Under Alice’s second step, claims are valid only if they contain an inventive
         12        concept sufficient to transform the claims into a patent-eligible invention. 134 S. Ct. at
         13        2355, 2359. A valid claim must include “additional features” beyond the abstract idea
         14        itself, which “requires more than simply stating the abstract idea while adding the words
         15        ‘apply it.’” Id. at 2357 (internal quotations, citations and brackets removed); see also
         16        Capital One, 792 F.3d at 1370; Secure Mail Solutions LLC v. Universal Wilde, Inc. 169
         17        F. Supp. 3d 1039, 1051 (C.D. Cal. 2016) (invalidating claims “replete” with “routine
         18        additional steps” that “continually reference generic hardware and software”).
         19              The claims here recite no inventive concept. Prior to 2005, the supposedly
         20        “inventive” separate displays, transmission protocols, access restrictions, message IDs,
         21        display-based keyboard, and electronic instructions were everyday tools of electronic
         22        messaging systems. (See Greenberg Decl. ¶¶17-64.) None of the claimed features—
         23        whether considered alone or in combination—operates in a non-conventional way to
         24        specifically improve computer technology. (Id. ¶¶65-68.)
         25              The sections below will explain how each of the technologies on which
         26        Vaporstream has relied to show a purported “inventive concept” was, in fact, a “well-
         27        understood, routine, [and] conventional” activity that cannot impart patent eligibility.
         28
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            1      Alice, 134 S. Ct. at 2359 (quotation removed).9 They likewise will show that the
            2      asserted patents do not combine these routine tools in any unique way that advances the
            3      technology. Borrowing the Court’s words, these claims involve mere “conventional
            4      protocols,” not “technological improvements.” (Order at 12.)
            5                     1.       Separately Displaying Message Content and Identifying
                                           Information Was Routine and Conventional
            6
            7            Vaporstream previously pointed to the ability to display, on two separate
            8      displays, the content of a message and the sender/recipient identifying information for
            9      that message as inventive. But as explained by Dr. Greenberg, this feature describes a
         10        well-known, routine, and conventional technique. (Greenberg Decl. ¶¶41-55.) One of
         11        the most fundamental tasks in designing any computer user interface is to decide how
         12        much information (and what information) should be presented or presented on a
         13        particular screen, including how that information should be separated into displayable
         14        units, and how a user action or navigation would move between them. (Id. ¶¶41-45.)
         15              For example, one known user interface was a “Wizard”-based approach that
         16        would present a series of screens to a user, each screen soliciting a discrete piece of
         17        information.        (Id. ¶45.)   An example was disclosed by a 2002 published patent
         18        application by Charles Namias that describes (among other things) a touch-screen user
         19        interface for a kiosk designed to record and send a video email message to another user:
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                     To be clear, the law does not require Snap to establish that the Asserted Claims are
         27        invalid based on prior art to show the absence of an “inventive concept.” A patent can
                   lack an “inventive concept” under Alice even if the prior art does not anticipate or render
         28        obvious all limitations of the claims. See, e.g., Symantec, 838 F.3d at 1315.
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         11        (U.S. Pat. Pub. No. 2002/0112005 (“Namias”); Greenberg Decl. ¶46.) Figure 4A above
         12        shows a first screen for creating the message content, in this case a video recording.
         13        This screen has a single purpose—to let a user record a video email message (and
         14        optionally preview it) before sending. Figure 5 shows a second, separate screen that
         15        prompts the user to input email address(es) of the recipient(s) through a display-based
         16        keyboard. The video content is not visible from this screen. Thus, the message content
         17        and recipient identity are input through two separate screens that are not visible at the
         18        same time. If one were to take a screen capture of Figure 4A, one might see some
         19        portion of the message (such as a frame of the video) but could not determine the
         20        identity of the recipient. Conversely, if one were to capture Figure 5, one might be able
         21        to determine the identity of the recipient but not the content of the video message.
         22        (Greenberg Decl. ¶¶46-47.)
         23              The same considerations apply to the message recipient. Early cell phones often
         24        had small displays with extremely limited display capabilities, necessitating the use of
         25        separate screens to present the information for a single message. The two screenshots
         26        below show an example of using separate screens on a late 1990s cell phone to display
         27        to an electronic message recipient the identity of the message sender (“Karen”), and—
         28        after the ‘Read’ button is selected—the message content (“Call Cathy and tell her”)
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            7      (“Digital Multi-Service Data-Capable Phone: i1000plus User’s Guide,” NEXTEL® at

            8      52 (March 22, 1999); see also (Greenberg Decl. ¶51).)

            9            These and the other systems described by Dr. Greenberg provide mere examples

         10        of how sender/recipient information can be displayed separately from message content.

         11        (Greenberg Decl. ¶¶41-55.) At a broader level, it was well-known that whenever

         12        multiple pieces of related information are to be displayed, the programmer needs to

         13        decide whether to present that information on one display screen or across multiple

         14        screens. (Id. ¶¶42-45.) That decision can be based on a desire to simplify the user

         15        interface or to accommodate the size of the display, as the examples above illustrate.

         16        (See id.) It was also known that “shoulder surfing” by onlookers can be impeded by

         17        temporarily blocking display of certain discrete pieces of sensitive information,

         18        effectively displaying that information, as a whole, using multiple different screens.

         19        (See id. ¶53.)

         20              Finally, the asserted claims do not solve any technological problem or provide

         21        any kind of technological improvement. The patent instead makes clear that the

         22        separate displays rely entirely on known and conventional techniques. For example,

         23        the specification describes “display generator 160” that generates the screen displays

         24        for use with the alleged invention. (’739 Patent, 8:52-56.) But Figure 1 shows display

         25        generator 160 as a nondescript black box. And the specification explains that “[d]isplay

         26        generator 160 may utilize any of a variety of well-known display generation

         27        methodologies and/or protocols for creating information representing a displayable

         28        image.” (’739 Patent, Fig. 1, 9:18-24 (emphasis added).) Nothing in the Asserted
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            1      Claims recites any new or unique techniques for creating or visually presenting screen
            2      displays. (Greenberg Decl. ¶55.)
            3                   2.    Separately Sending a Message’s Content and Its Identifying
                                      Information was Routine and Conventional
            4
            5            The ability to send a message by separately transmitting the message content and
            6      the sender/recipient identifying information was likewise a routine and well-understood
            7      concept well before 2005. One of the simplest ways to describe this technique is with
            8      reference to ubiquitous email messaging technology, which has existed since at least
            9      the early 1980s. (Greenberg Decl. ¶17.) As anyone who has ever sent an email message
         10        knows, a message must generally include at least a “To:” field that identifies the
         11        recipient, and a “From:” field identifying the sender. (Id. ¶18.) The message may also
         12        include a “body” that holds the actual content of the message, such as the text of the
         13        message or one or more attachments (such as a media file). (Id.)
         14              As explained by Dr. Greenberg, the earliest published standards for email
         15        specifically required the sender to transmit sender/recipient information separately
         16        from message content. (Id. ¶¶19-27.) The purported “feature” of separate transmission
         17        of sender/recipient information and message content was thus a built-in functionality of
         18        standard Internet email technologies more than three decades before Vaporstream filed
         19        its first patent application. For example, one of the early published standards for
         20        Internet email messages was the “Mail Transfer Protocol” (RFC 772), published in
         21        September 1980. (Id. ¶19.) That protocol provided a detailed series of steps and
         22        commands for allowing computers to send an email message to a remote host such as a
         23        server. (Id. ¶¶19-27.) Under that protocol, sending an email message requires that the
         24        sending device engage in a back-and-forth conversation with the server and separately
         25        and individually send each recipient address, and then separately send the message
         26        content. (Id. ¶¶22-25.)
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            1              A diagram showing the
            2      flow of such a message
            3      (based on an actual example
            4      from the September 1980
            5      Mail      Transfer    Protocol
            6      specification (RFC 772)) is
            7      shown to the right.10      (Id.
            8      ¶24.)    In this example, the
            9      sender is trying to send a
         10        message       to     recipients
         11        “Foo@Y”       and    “bar@Y”
         12        whose body contains a line of
         13        text    “Blah      blah   blah
         14        blah….etc. etc. etc.” The
         15        sending device makes this
         16        happen by sending separate
         17        commands to provide the
         18        server with recipient identity (“MRCP TO:”), the identity of the message sender, and
         19        the message content (“MAIL FROM:”).              The separation of sender/recipient
         20        information from message content is apparent from the fact that these pieces of
         21        information are conveyed to the server through separate transmissions that take place
         22        only after receiving an appropriate response code from the server (such as “200 OK” or
         23        “354 Type mail”), indicating the command was successful and the process can continue.
         24                By the 1990s, another technique for separately sending sender/recipient
         25        information and the message content was known. Anyone who has used a web browser
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                   10
         27          The cited RFC 772 provides this exact example in text form. (Greenberg Decl., Ex.
                   C, p. 29.) This is simply a diagrammatic depiction of the identical information from the
         28        RFC.
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            1      is likely familiar with the concept of a Uniform Resource Locator (or “URL” for short),
            2      which refers to an address on the Internet. (Id. ¶28.) The Court’s web site, for example,
            3      can be reached at the following URL: <http://www.cacd.uscourts.gov>. A URL is a
            4      unique identifier that points to a web page or any kind of file (including graphics, sound,
            5      or any other type of digital content). (Id.) It was well-known long before 2005 that a
            6      user could send an email message whose body contained a URL pointing to the content
            7      of the message. (Id.) Indeed, the Vaporstream patents expressly state that the content
            8      of an electronic message can take the form of a “linked file” rather than being
            9      “embedded” directly within the message. (’739, 7:50-52.)
         10              Dr. Greenberg provides an example email message in which he is sending a
         11        hiking trail map to John. (Greenberg Decl. ¶¶29-31.) Rather than including the map in
         12        the email itself, he has included a URL to the map (in PDF form) on the Internet. When
         13        John receives this message, he must follow or click on the URL to obtain the map. The
         14        URL is thus used as a reference to correlate the received email, which includes
         15        sender/recipient information, with the separately-transmitted content. (Id.)
         16              This use of URLs in email messages was, in fact, a factor in the design of the
         17        URL itself. The published standard that described the format of the URL, published in
         18        1994 by Tim Berners-Lee, explained that there would be “many occasions” in which
         19        URLs would be included in email messages. (Id. ¶32.) By no later than 2001, popular
         20        email programs such as Microsoft Outlook had built-in features to facilitate inserting
         21        URLs to files or web pages in email messages. (Id.) And aside from the manual process
         22        of inserting a URL as described above, companies had also created computer-based
         23        systems that would automatically modify an email to replace its content with a URL,
         24        and then send the modified message to the recipient. (Id. ¶¶33-37.) Dr. Greenberg
         25        identifies and describes at least three different references, all predating the Vaporstream
         26        patents by several years, that describe such URL techniques. (Id. ¶38.) A similar
         27        technique was also built-in to the industry standard known as the Multipurpose Internet
         28        Mail Extension (MIME). (Id. ¶35.)
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            1            Each of these techniques provide an example of a message’s content being
            2      transmitted separately from the sender/recipient information for the message. This is
            3      because the content of the message is not conveyed in the body of the message, but
            4      through a separate and external transmission. The recipient must first receive the
            5      message and then use the information in the message to retrieve, in a separate
            6      transmission, the desired content. In each of these examples, the responding server
            7      could provide the desired file, or if further privacy was desired, require the recipient to
            8      enter authentication credentials (such as a username and password) as a security
            9      measure. (Greenberg Decl. ¶¶31, 34-35.) In short, the ability to send a message by
         10        separately transmitting the message content and the sender/recipient identifying
         11        information was “well-understood, routine, [and] conventional” activity and therefore
         12        it cannot impart patent eligibility. Alice, 134 S. Ct. at 2359 (quotation removed).
         13              Nor do the asserted claims purport to provide any technological advancement.
         14        Although they broadly recite a separation in the transmission of sender/recipient
         15        information and message content, they do not explain how this should be accomplished.
         16        (See Greenberg Decl. ¶40.) The patent specification instead contemplates using well-
         17        known and generic Internet protocols. (’739, 6:11-20.) The dearth of technical detail
         18        in the Vaporstream patents regarding implementation of this supposedly key inventive
         19        feature reflects the fact that techniques for performing the separate transmissions were
         20        old hat by 2005, making it unnecessary for the patent to discuss them in any detail. See,
         21        e.g. Spectra-Physics, Inc. v. Coherent, Inc., 827 F.2d 1524, 1534 (Fed. Cir. 1987) (“A
         22        patent need not teach, and preferably omits, what is well known in the art.”).
         23                     3.     Restricting Access to Messages and Screenshot Prevention
         24              In connection with the prior motion, Vaporstream pointed to techniques for
         25        preventing access to message content as allegedly providing an inventive concept. The
         26        asserted patents provide only two examples of access restrictions: (1) automatic deletion
         27        of message content upon a predetermined event and (2) preventing a single screen
         28        capture of message content and identifying information. Both of these techniques
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            1      simply recite well-understood, routine, and conventional activity.
            2            The automatic deletion of electronic messages was well known by 2005. For
            3      example, by 2001 the popular email program Microsoft Outlook provided several
            4      techniques for allowing senders or recipients to automatically delete outgoing or
            5      incoming email messages. (Greenberg Decl. ¶57.) Sending users could elect to not
            6      retain copies of messages they had sent. (Id.) Receiving users could also specify that
            7      messages would be automatically deleted after a predetermined amount of time. (Id.)
            8      Microsoft Outlook even provided a “message rules” feature that let users define custom
            9      rules for automatically deleting messages based on the occurrence of one or more user-
         10        specified conditions (including permanent deletion). (Id.) The ability to automatically
         11        delete a message based on some predetermined event was thus a routine and
         12        conventional activity well before April 2005. (Id. ¶¶56-59.)
         13              The asserted claims also describe restricting access to message content by
         14        “preventing a single screen capture of both the identifier of a recipient and the media
         15        component.” (’885 Patent, claim 1[b]; ’156 Patent, claim 1[b]; ’711 Patent, claims 1[c],
         16        2.)   But the patent specification makes clear that screenshot prevention is only
         17        accomplished by way of the separate display of identifying information and message
         18        content; there is nothing about the displays themselves that prevents screenshots. (’739
         19        Patent, 17:65-18:1.) As explained, designing a user interface that spreads information
         20        across separate display screens, including for privacy purposes, was a known and
         21        routine technique. (Greenberg Decl. ¶¶41-59.) Each of the examples described above
         22        in which the sender/recipient information and message content were shown on separate
         23        screens demonstrates that this technique achieves the screenshot protection described
         24        in the patent. (Id. ¶58.)
         25                     4.     Display-Based Keyboards
         26              Vaporstream also pointed to a “display-based keyboard” recited in certain claims
         27        as allegedly inventive. But display-based keyboards were well-known long before the
         28        Vaporstream patents was filed, and was used in the Namias reference discussed above,
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            1      as well as other references. The technique of presenting an image of a keyboard on a
            2      touch-screen display, in fact, dates back to the mid-1980s. (Greenberg Decl. ¶¶60-64.)
            3      The claimed display-based keyboard was a routine and conventional technology in the
            4      industry prior to the Asserted Patents, and cannot supply an inventive concept.
            5                   5.     Nothing in the Ordered Combination of Limitations Improves
                                       Computer Technology
            6
            7            Even considering each claim limitation as an “ordered combination” adds nothing
            8      to confer patent-eligibility. Alice, 134 S. Ct. at 2359-60; see Greenberg Decl. ¶¶65-68.
            9      Indeed, the Asserted Claims implement the abstract idea of protecting the identity of
         10        the sender or recipient in the simplest way conceivable—by merely (1) separating the
         11        identifying information from the content, and then (2) destroying the content. Nothing
         12        about the ordered combination of limitations is remotely inventive. Separating two
         13        items is the most rudimentary way to hide the association between them—as simple as
         14        removing one item from view while leaving the other in plain sight. And people have
         15        been destroying content since they learned to create it. As one district court articulated,
         16        automatic deletion is not an inventive concept. Adrea, 2015 WL 4610465, at *6.
         17              The steps of the Asserted Claims are further performed in the order they must be
         18        to communicate a message. The content of a message and its recipient(s) must be
         19        specified (e.g., via a display-based keyboard) before the message can be transmitted
         20        from the sender. Likewise, the message must be transmitted to the recipient before the
         21        sender’s identity can be revealed and the message content displayed. Additionally, a
         22        message, in order to be successfully communicated to the recipient, could not be deleted
         23        until after it has been displayed. The steps of the Asserted Claims are therefore
         24        performed in the conventional order required to achieve the intended purpose of
         25        electronic messaging. (Greenberg Decl. ¶¶65-68.)
         26        V.    CONCLUSION
         27              For the foregoing reasons, the Court should grant summary judgment and find
         28        that the Asserted Claims are invalid under § 101.
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            2            I certify that on August 22, 2017, the foregoing document was electronically filed
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